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                               EXHIBIT F


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION



CHRISTY DAWN VARDEN, et al.

                Plaintiffs,

v.
                                                          Case No. 2:15-cv-34-MHT-WC

THE CITY OF CLANTON,                                                (Class Action)

                Defendant.




                 STATEMENT OF INTEREST OF THE UNITED STATES

       Incarcerating individuals solely because of their inability to pay for their release, whether

through the payment of fines, fees, or a cash bond, violates the Equal Protection Clause of the

Fourteenth Amendment. See Tate v. Short, 401 U.S. 395, 398 (1971); Williams v. Illinois, 399

U.S. 235, 240-41 (1970); Smith v. Bennett, 365 U.S. 708, 709 (1961). In this case, Plaintiffs

allege that they are subjected to an unlawful bail scheme in Clanton, Alabama. Under this

scheme, Plaintiffs are allegedly required to pay a cash “bond” in a fixed dollar amount for each

misdemeanor charge faced or else remain incarcerated. Without taking a position on the factual

accuracy of Plaintiff’s claims, the United States files this Statement of Interest to assist the Court

in evaluating the constitutionality of Clanton’s bail practices. It is the position of the United

States that, as courts have long recognized, any bail or bond scheme that mandates payment of

pre-fixed amounts for different offenses in order to gain pre-trial release, without any regard for

indigence, not only violates the Fourteenth Amendment’s Equal Protection Clause, but also

constitutes bad public policy.
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                             INTEREST OF THE UNITED STATES

        The United States has authority to file this Statement of Interest pursuant to 28 U.S.C §

517, which permits the Attorney General to attend to the interests of the United States in any

case pending in a federal court. The United States can enforce the rights of the incarcerated

pursuant to the Civil Rights of Institutionalized Persons Act, 42 U.S.C. § 1997. The United

States uses that statute to address unconstitutional conditions of confinement, many of which are

caused by the overcrowding of prisons and jails.

        The United States has a clear interest in ensuring that state and local criminal justice

systems are fair, nondiscriminatory, and rest on a strong constitutional foundation. 1

Unfortunately, that is not always the case. As noted by Attorney General Eric Holder at the

National Symposium on Pretrial Justice in 2011:

        As we speak, close to three quarters of a million people reside in America’s jail
        system. . . . Across the country, nearly two thirds of all inmates who crowd our
        county jails—at an annual cost of roughly nine billion taxpayer dollars—are
        defendants awaiting trial. . . . Many of these individuals are nonviolent, non-
        felony offenders, charged with crimes ranging from petty theft to public drug use.
        And a disproportionate number of them are poor. They are forced to remain in
        custody—for an average of two weeks, and at a considerable expense to taxpayers
        —because they simply cannot afford to post the bail required . . . . 2

For these reasons, the United States is taking an active role to provide guidance on the due

process and equal protection issues facing indigent individuals charged with state and local

crimes. For example, the United States filed Statements of Interest in Wilbur v. City of Mount



1
  ABA Standards for Criminal Justice, Prosecution and Defense Function, Standard 3-1.2(d) (1993) (“It is
an important function of the prosecutor to seek to reform and improve the administration of criminal
justice. When inadequacies or injustices in the substantive or procedural law come to the prosecutor’s
attention, he or she should stimulate efforts for remedial action.” ).
2
 Eric Holder, Att’y Gen. of the United States, U.S. Dep’t of Justice, Speech at the National Symposium
on Pretrial Justice (June 1, 2011), available at http://www.justice.gov/opa/speech/attorney-general-eric-
holder-speaks-national-symposium-pretrial-justice.


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Vernon in 2013 3 and Hurrell-Harring v. State of New York in 2014. 4 Both cases involved the

fundamental right to counsel for indigent criminal defendants and the role counsel plays in

ensuring the fairness of our justice system. 5

        Accordingly, the United States files this Statement of Interest, reaffirming this country’s

commitment to the principles of fundamental fairness and to ensuring that “the scales of our

legal system measure justice, not wealth.” 6

                                            BACKGROUND

        It is long established that the American criminal justice system should not work

differently for the indigent and the wealthy. Indeed, as early as 1956, the Supreme Court

declared that “there can be no equal justice where the kind of trial a man gets depends on the

amount of money he has.” Griffin v. Illinois, 351 U.S. 12, 19 (1956). Twenty years later, the

Fifth Circuit extended that precept to incarceration: “[t]o imprison an indigent when in the same

circumstances an individual of financial means would remain free constitutes a denial of equal

3
 Statement of Interest of the United States, Wilbur v. City of Mount Vernon, Civ. Action No. 11-1100
(W.D. Wash., Aug. 8, 2013), available at http://www.justice.gov/crt/about/spl/documents/wilbursoi8-14-
13.pdf.
4
 Statement of Interest of the United States, Hurrell-Harring v. State of New York, Case No. 8866-07
(N.Y. Sup. Ct., Sept. 25, 2014), available at
http://www.justice.gov/crt/about/spl/documents/hurrell_soi_9-25-14.pdf.
5
 In both Statements of Interest, the United States did not take a position on the merits of the plaintiffs’
claims. In Wilbur, the United States provided its expertise by recommending that if the court found for the
plaintiffs, it should ensure that public defender counsel have realistic workloads, sufficient resources, and
are carrying out the hallmarks of minimally effective representation. In Hurrell-Harring, the United
States provided an informed analysis of existing case law to synthesize the legal standard for constructive
denial of counsel.
6
 Robert F. Kennedy, Att’y Gen. of the United States, U.S. Dep’t of Justice, Address to the Criminal Law
Section of the American Bar Association (Aug. 10, 1964), available at
http://www.justice.gov/ag/rfkspeeches/1964/08-10-1964.pdf; see also Eric Holder, Att’y Gen. of the
United States, U.S. Dep’t of Justice, Speech at the National Association of Criminal Defense Lawyers
57th Annual Meeting (Aug. 1, 2014), available at http://www.justice.gov/iso/opa/ag/speeches/2014/ag-
speech-140801.html (quoting Attorney General Robert F. Kennedy).


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protection of the laws.” Barnett v. Hopper, 548 F.2d 550, 554 (5th Cir. 1977) 7, vacated as moot,

439 U.S. 1041 (1978). Under the clear precedent of this Circuit, “imprisonment solely because of

indigent status is invidious discrimination and not constitutionally permissible.” Pugh v.

Rainwater, 572 F.2d 1053, 1056 (5th Cir. 1978) (en banc).

         The sweeping reforms to the federal bail system during the 1960s were based on these

same constitutional principles—that access to justice should not be predicated on financial

means. In 1962, Attorney General Robert F. Kennedy called for wide-scale bail reform, noting

that “[i]f justice is priced in the market place, individual liberty will be curtailed and respect for

law diminished.” 8 In 1964, Attorney General Kennedy convened a National Conference on Bail

and Criminal Justice with the express purpose of understanding and improving both the federal

and state bail systems. 9 During his closing remarks at the conference, Attorney General Kennedy

declared:

         [U]sually only one factor determines whether a defendant stays in jail before he
         comes to trial. That factor is not guilt or innocence. It is not the nature of the
         crime. It is not the character of the defendant. That factor is, simply, money. How
         much money does the defendant have? 10

At the time, federal courts routinely employed cash bail schemes similar to the one alleged in

this case: bail amounts were based on the charges for which defendants were arrested, and

7
 The Eleventh Circuit has adopted as precedent all decisions of the former Fifth Circuit rendered prior to
October 1, 1981. Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc).
8
 Robert F. Kennedy, Att’y Gen. of the United States, U.S. Dep’t of Justice, Address to the American Bar
Association (Aug. 6, 1962), available at
http://www.justice.gov/sites/default/files/ag/legacy/2011/01/20/08-06-1962%20Pro.pdf.
9
 Robert F. Kennedy, Att’y Gen. of the United States, U.S. Dep’t of Justice, Welcome Address to the
National Conference on Bail and Criminal Justice (May 27, 1964), available at
http://www.justice.gov/sites/default/files/ag/legacy/2011/01/20/05-27-1964.pdf.
10
  National Criminal Justice Reference Service, Proceedings and Interim Report from the National
Conference on Bail and Criminal Justice 297 (1965), available at
https://www.ncjrs.gov/pdffiles1/Photocopy/355NCJRS.pdf.


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judicial officers routinely set cash bail amounts that some defendants simply could not afford to

pay.

           Attorney General Kennedy’s conference on bail reform sparked wide-scale changes to

the federal pre-trial detention and bail system. Testifying before the Senate Judiciary Committee

while bail reform legislation was under consideration, Attorney General Kennedy articulated the

Department’s growing concern that “the rich man and the poor man do not receive equal justice

in our courts. And in no area is this more evident than in the matter of bail.” 11 The main reason

for this disparity, according to Attorney General Kennedy, was that the federal bail-setting

process was “unrealistic and often arbitrary.” Bail was set “without regard to a defendant’s

character, family ties, community roots or financial status.” Instead, bail was frequently set based

on the nature of the crime alone. 12

           Today, federal law expressly forbids that practice with a single sentence: “The judicial

officer may not impose a financial condition that results in the pretrial detention of the person.” 13

This concise but profound change was initiated as part of the Bail Reform Act of 1966, which

marked a significant departure from past practices. The stated purpose of the Act was “to revise

the practices relating to bail to assure that all persons, regardless of their financial status, shall

not needlessly be detained pending their appearance to answer charges, to testify, or pending

appeal, when detention serves neither the ends of justice nor the public interest.” 14

11
  See Hearings on S. 2838, S. 2839, & S. 2840 Before the Subcomm. on Constitutional Rights and
Subcomm. on Improvements in Judicial Machinery of the S. Comm. on the Judiciary, 88th Cong. (1964)
(Testimony by Robert F. Kennedy, Att’y Gen. of the United States, U.S. Dep’t of Justice), available at
http://www.justice.gov/sites/default/files/ag/legacy/2011/01/20/08-04-1964.pdf.
12
     Id.
13
     18 U.S.C. § 3142(c)(2).
14
  Bail Reform Act of 1966, Pub. L. No. 89-465, § 2, 80 Stat. 214 (1966). See also Allen v. United States,
386 F.2d 634, 637 (D.C. Cir. 1967) (Bazelon, J., dissenting) (“It plainly appears from the language and
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          The Bail Reform Act requires federal judges and magistrates to conduct an individualized

analysis of each defendant prior to ordering pretrial detention. 15 The individualized analysis

requires consideration of factors such as ties to the community, employment, and prior record

and precludes fixing bail based solely on the charge. 16 In weighing these factors, judges are to

consider 1) the extent to which pre-trial release will endanger the safety of those in the

community, and 2) what is necessary to reasonably assure that the defendant will return to court

when necessary—i.e., that the defendant will not flee or otherwise attempt to avoid justice. 17

          Federal judges must also consider a wide range of “conditions” to be placed upon a

defendant’s pre-trial release that could alleviate these concerns. These conditions include regular

community reporting, establishing curfews, abstaining from drug or alcohol use, and various

types of community supervision. 18 Financial conditions, including money bonds, can be among

these measures and, in appropriate cases where an accused might be a flight risk, financial

conditions can provide strong incentives to return to court. But the imposition of financial

conditions can only be made after an individualized assessment of the particular defendant. And,

importantly, the Bail Reform Act expressly precludes any federal judge or magistrate from



history of the Bail Reform Act that its central purpose was to prevent pretrial detention because of
indigency.”) (citations omitted).
15
  Federal judges must make these determinations during or following detention hearings in open court, in
which defendants facing pre-trial detention are represented by counsel, either appointed or retained. 18
U.S.C. § 3142(f).
16
  The Comprehensive Crime Control Act of 1984, signed into law by President Ronald Reagan, modified
several sections of the 1966 Act, but made even more explicit the requirement of an individualized
determination and the prohibition against cash bail for those who could not pay.
17
  See generally, 18 U.S.C. § 3142(b)-(d) (outlining factors the courts must consider in determining
whether or not to hold a defendant over until trial, or release him or her on his or her own recognizance or
pursuant to conditions).
18
     18 U.S.C. § 3142(c)(1)(B).


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imposing money bail that an accused person cannot afford to pay and would therefore result in

that person’s pretrial detention. 19

          If the judge determines that no amount of conditions can reasonably secure the safety of

the community and the return of the defendant, the judge may order pretrial detention. In doing

so, the judge must provide a written statement of facts and the reasons for detention via a

“detention order.” 20 Reasons for or against pretrial detention include the nature and

circumstances of the defendant’s charges, the weight of the evidence against the defendant, the

defendant’s history and character (including family and community ties and employment), and

the dangerousness or risk of flight that the defendant may pose if released. 21

          Essentially, the Bail Reform Act’s provisions ensure that pretrial detention is based on an

objective evaluation of dangerousness and risk of flight, rather than ability to pay. Previous

critics of bail reform suggested that the Act would “create a nation of fugitives,” 22 but the

Department has not found that to be the case. To the contrary, the Department has found that

judicial officers are well suited to make fair, individualized determinations about the risks, if

any, of releasing a particular defendant pending his or her next court date and that they are able

to do so efficiently with the assistance of an able pretrial services staff and the input of both the

prosecutor and defense counsel. Individualized determination and the basic elements of due




19
  18 U.S.C. § 3142(c)(2) (“The judicial officer may not impose a financial condition that results in the
pretrial detention of the person.”).
20
     18 U.S.C. § 3142(i)(1).
21
     18 U.S.C. § 3142(g).
22
  Hearings on S. 2838, S. 2839, & S. 2840 Before the Subcomm. on Constitutional Rights and Subcomm.
on Improvements in Judicial Machinery of the S. Comm. on the Judiciary, 88th Cong. (1964) (Testimony
by George L. Will, Executive Director of the American Society of Professional Bail Bondsmen).


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process help ensure that federal defendants are not detained unnecessarily or simply because they

are poor.

                                          DISCUSSION

        Plaintiffs in this case seek declaratory, injunctive and compensatory relief, alleging that

the mandatory imposition of a bail schedule that sets bail at a fixed amount per charge violates

due process and equal protection. If Clanton’s bail system indeed fixes bond amounts based

solely on the arrest charge, and does not take individual circumstances into account, the Court

should find this system to be unconstitutional. Not only are such schemes offensive to equal

protection principles, they also constitute bad public policy.

   I.       Fixed-sum Bail Systems are Unconstitutional under the Equal Protection Clause
            of the Fourteenth Amendment

        In general, the Equal Protection Clause of the Fourteenth Amendment prohibits

“punishing a person for his poverty.” Bearden v. Georgia, 461 U.S. 660, 671 (1983). This is

especially true when it comes to depriving a person of his liberty. The Supreme Court has

considered a variety of contexts in which the government attempted to incarcerate or continue

incarceration of an individual because of his or her inability to pay a fine or fee, and in each

context, the Court has held that indigency cannot be a barrier to freedom. Tate, 401 U.S. at 398;

Williams, 399 U.S. at 240-41; Smith, 365 U.S. at 709.

        Although much of the Court’s jurisprudence in this area concerns sentencing or early

release schemes, the Court’s Fourteenth Amendment analysis applies in equal, if not greater

force to individuals who are detained until trial because of inability to pay fixed-sum bail

amounts. Liberty is particularly salient for defendants awaiting trial, who have not been found

guilty of any crime. See United States v. Salerno, 481 U.S. 739, 750 (1987) (recognizing the

fundamental nature of the right to pretrial liberty). To be sure, pretrial detention may be

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necessary in some circumstances including if a court finds a likelihood of future danger to

society or that the defendant poses a flight risk. Fixed-sum bail systems, however, such as the

one allegedly used in Clanton, Alabama, do not take these considerations into account. Such

systems are based solely on the criminal charge. Because such systems do not account for

individual circumstances of the accused, they essentially mandate pretrial detention for anyone

who is too poor to pay the predetermined fee. This amounts to mandating pretrial detention only

for the indigent.

       The Fifth Circuit briefly discussed fixed-sum bail systems, otherwise referred to as “bail

schedules,” in Pugh v. Rainwater, 572 F.2d 1053 (5th Cir. 1978) (en banc). There, the Court held

that the new bail scheme passed by the Florida legislature was not constitutionally deficient

simply because it failed to articulate a presumption against imposing cash bail. The en banc court

noted that Florida’s new system allowed for six different types of pretrial release—cash bail was

but one option of many. Importantly, however, the Court pointed out that the utilization of bond

schedules, and only bond schedules, creates an injustice for individuals who cannot meet the

financial threshold:

       Utilization of a master bond schedule provides speedy and convenient release for
       those who have no difficulty in meeting its requirements. The incarceration of
       those who cannot, without meaningful consideration of other possible
       alternatives, infringes on both due process and equal protection requirements.

Pugh, 572 F.2d at1057.

       As correctly noted in Plaintiff’s Motion for Temporary Restraining Order or in the

Alternative Motion for Preliminary Injunction (ECF No. 34), courts in this Circuit have had

occasion to address scenarios analogous to those alleged here. For example, in Frazier v. Jordan,

457 F.2d 726, 728 (5th Cir. 1972), the Fifth Circuit invalidated a sentencing scheme that offered

defendants the choice of immediately paying a $17 fine or serving a 13-day jail sentence as


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applied to indigent defendants who could not pay the fine. As the Court noted, “[t]he alternative

fine before us creates two disparately treated classes: those who can satisfy a fine immediately

upon its levy, and those who can pay only over a period of time, if then. Those with means avoid

imprisonment; the indigent cannot escape imprisonment.” Id.

       Similarly, in Tucker v. City of Montgomery, 410 F. Supp. 494 (M.D. Ala. 1976), this

Court held that the City’s practice of charging a bond to exercise appellate rights denied the

equal protection of the law to indigent prisoners. In so holding, the court found that “[t]he

imposition by the State of financial barriers restricting the availability of appellate review for

indigent criminal defendants has no place in our heritage of Equal Justice Under Law.” Id. at 502

(quoting Burns v. Ohio, 360 U.S. 252, 258 (1959)).

       Finally, this Court’s recent decision in United States v. Flowers, 946 F. Supp. 2d 1295

(M.D. Ala. 2013), addressed practices analytically indistinguishable from those practices

Plaintiffs allege are occurring in Clanton. In Flowers, the defendant could avoid prison only if

she paid for her home confinement, an option her poverty prevented. This Court noted correctly

that “it is inequitable for indigent defendants who cannot pay for home-confinement monitoring

to be imprisoned while those who can pay to be subject to the more limited monitored home

confinement avoid prison.” Id. at 1302. If Plaintiffs’ allegations in this case are true, indigent

defendants in Clanton face a similar problem—pay a monetary bond they cannot afford or go to

jail. This determination, like the sentence in Flowers, would be “constitutionally infirm and

[unable to] stand.” Id. at 1300.

       II.     Public Policy Weighs Strongly Against Fixed Bail Systems

       In addition to being unconstitutional, fixed-bail systems that do not account for a

defendant’s indigency are an inadequate means of securing the safety of the public or ensuring



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the return of the defendant to the court – the central rationales underlying pretrial detention.

Indeed, such schemes are driven by financial considerations, rather than legitimate public safety

concerns. This is bad public policy, and results in negative outcomes for both defendants and the

community at large.

           The problems with bail systems based on financial considerations are well-documented. 23

As summarized in a recent Department of Justice publication: “The two central issues

concerning money bail are: (1) its tendency to cause unnecessary incarceration of defendants

who cannot afford to pay secured financial conditions either immediately or even after some

period of time; and (2) its tendency to allow for, and sometimes foster, the release of high-risk

defendants, who should more appropriately be detained without bail.” 24

           When bail amounts are too high for indigent individuals to afford, fewer defendants will

be released pretrial, 25 thereby creating a burden on local jails. 26 Today, according to a Bureau of

Justice Statistics analysis, more than 60 percent of all jail inmates nationwide are in custody

awaiting an adjudication of their charges, and the majority of these pretrial detainees are charged




23
  See, e.g., Timothy R. Schnacke, United States Department of Justice, National Institute of Corrections,
Fundamentals of Bail: A Resource Guide for Pretrial Practitioners and a Framework for American
Pretrial Reform (2014), available at
http://www.pretrial.org/download/research/Fundamentals%20of%20Bail%20-%20NIC%202014.pdf.
24
     Id. at 15.
25
  Thomas H. Cohen & Brian A. Reaves, United States Department of Justice, Office of Justice Programs,
Bureau of Justice Statistics, Pretrial Release of Felony Defendants in State Courts: State Court
Processing Statistics, 1990-2004, Special Report, NCJ 214994 (2007) (study of state courts in the 75
largest counties from 1990 to 2004, finding that about 7 of 10 defendants secured release when bail was
set at less than $5,000, but only 1 in 10 secured release when bail was set at $10,000 or more), available
at http://www.bjs.gov/content/pub/pdf/prfdsc.pdf.
26
 See generally Ram Subramaniam, et al., Vera Institute of Justice, Incarceration’s Front Door: The
Misuse of Jails in America 29-35 (Feb. 2015), available at http://vera.org/pubs/incarcerations-front-door-
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with nonviolent offenses. 27 Jail overcrowding, in turn, can result in significant security and life

and safety risks for both inmates and staff. 28

        While there is a need for continued quantitative research on the effects of pretrial

detention, it is clear that the decision to release or detain a defendant pretrial has many collateral

consequences beyond the loss of liberty. As detailed by the Supreme Court:

        The time spent in jail awaiting trial has a detrimental impact on the individual. It
        often means loss of a job; it disrupts family life; and it enforces idleness. Most
        jails offer little or no recreational or rehabilitative programs. The time spent in
        jail is simply dead time. . . Imposing those consequences on anyone who has not
        yet been convicted is serious. It is especially unfortunate to impose them on those
        persons who are ultimately found to be innocent.

Barker v. Wingo, 407 U.S. 514, 532-33 (1972). Incarceration carries weighty mental and

social burdens for the accused and for those closest to them. Family obligations may go

unmet while defendants are detained, and jobs may be lost, both of which can cause

irreparable harm to the defendant, their families, and their communities.

        In addition, for many reasons, the judicial decision to detain or release the accused

pretrial may be a critical factor affecting the outcome of a case. 29 Pretrial detention can impede


27
   Todd D. Minton, United States Department of Justice, Bureau of Justice Statistics, Jail Inmates at
Midyear 2012 – Statistical Tables, NCJ 241264, at 1 (2013) available at
www.bjs.gov/content/pub/pdf/jim12st.pdf (showing that the percentage of pretrial detainees in jail has
remained unchanged since 2005); see also Donna Lyons, Predicting Pretrial Success, State Legislatures,
February 2014 at 18-19, available at
http://www.ncsl.org/Portals/1/Documents/magazine/articles/2014/SLG_0214_Pretrial_1.pdf; Arthur W.
Pepin, Conference of State Court Administrators, Policy Paper: Evidence-Based Pretrial Release (2014),
available at http://www.colorado.gov/ccjjdir/Resources/Resources/Ref/EBPre-TrialRelease_2012.pdf.
28
  See generally Brown v. Plata, 131 S. Ct. 1910 (2011) (overcrowding in California prisons created
unconstitutional conditions of confinement, including inadequate medical and mental health care); see
also Hutto v. Finney, 437 U.S. 678, 688 (1978) (upholding 30-day limit on confinement in isolation,
noting that overcrowding in the isolation unit contributed to violence and vandalism of cells).
29
  Mary T. Phillips, New York City Criminal Justice Agency, Inc., Pretrial Detention and Case
Outcomes, Part 1: Nonfelony Cases (2007), available at http://www.nycja.org/lwdcms/doc-
view.php?module=reports&module_id=669&doc_name=doc.


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the preparation of a defense, such as gathering evidence and interviewing witnesses, and pretrial

detention can make it more difficult to confer with an attorney. 30 Research indicates that these

barriers have practical consequences: defendants who are detained pretrial have less favorable

outcomes than those who are not detained, notwithstanding other relevant factors such as the

charges they face or their criminal history. One contributing factor is that detained defendants are

more likely to plead guilty, if only to secure release, possibly resulting in at least some wrongful

convictions. 31 In some instances, the time someone is detained pretrial can even exceed the likely

sentence if the defendant were later found guilty. 32

        For these reasons, many states have moved away from bail systems that are based

entirely on the criminal charge and towards systems that allow for different pretrial release

options based on individualized determinations of dangerousness or risk of flight. 33 The


30
  Andrew D. Leipold, How the Pretrial Process Contributes to Wrongful Convictions, 42 Am. Crim. L.
Rev. 1123, 1165 (2005); see also Barker, 407 U.S. at 532-33 (noting that a defendant detained pretrial “is
hindered in his ability to gather evidence, contact witnesses, or otherwise prepare his defense.”).
31
  Id. See also Mary T. Phillips, New York City Criminal Justice Agency, Inc., Bail, Detention, and
Felony Case Outcomes, Research Brief No. 18 (2008), available at http://www.nycja.org/lwdcms/doc-
view.php?module=reports&module_id=597&doc_name=doc; Barker, 407 U.S. at 533, n.35.
32
  See Stephanos Bibas, Plea Bargaining Outside the Shadow of Trial, 117 Harv. L. Rev. 2463, 2492
(2004).
33
  States employ a variety of bail systems that satisfy constitutional concerns. The federal model, while
constitutionally sufficient, is not the only adequate scheme. See Arizona (AR.S. Crim. Proc. Rule 7.2);
Arkansas (Arkansas Rules of Criminal Procedure, Rule 9.2); Connecticut (C.G.S.A § 54-63b(b)); Illinois
(725 ILCS 5/110-2); Maine (15 M.R.S.A §§ 1002, 1006); Massachusetts (MGL Ch. 276, § 58); Michigan
(M.C.L.A 780.62-for misdemeanors only); Minnesota (49 M.S.A, Rules Crim. Proc. § 6.02(1)); Missouri
(Missouri Supreme Court Rule 33.01); Montana (MCA 46-9-108 (2)); Nebraska (Neb. Rev. Stat. § 29-
901); New Mexico (NMRA, Rule 5-401(D)(2)); North Carolina (N.C.G.S.A. § 15A-534(b)); North
Dakota (N.D.R. Crim. P. 46); Oregon (ORS 135.245(3)); Rhode Island (RI ST § 12-13-1.3(e)); South
Carolina (S.C. Code § 17-15-10—for non-capital cases only); South Dakota(SDCL § 23A-43-2—for non-
capital cases only); Tennessee (T. C. A § 40-11-116(a)); Vermont (13 V.S.A § 7554—for misdemeanors
only); Washington (WA ST SUPER CT CR CrR 3.2(b)—for non-capital cases only); Wisconsin (W.S.A
969.01(4)); Wyoming (WY RCRP Rule 46.1(c)(1)(B)—for non-capital cases only). See generally Cynthia
E. Jones, “Give Us Free:” Addressing Racial Disparities in Bail Determinants, 16 N.Y.U. J. Leg. & Pub.
Pol’y 919, 930 (2013).


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American Bar Association’s Standards for Criminal Justice have also evolved to reflect the

importance of the presumption of pretrial release and the need for individualized determinations

before imposing pretrial detention. The Standards advocate for the imposition of the least

restrictive of release conditions necessary to ensure the defendant’s appearance in court. The

Standards also include guidelines to limit the use of financial conditions for pretrial release. 34

          The use of a more dynamic bail scheme, such as that set forth in the federal Bail Reform

Act, not only ensures adherence to constitutional principles of due process and equal protection,

but constitutes better public policy. Individualized determinations, rather than fixed-sum

schemes that unfairly target the poor, are vital to preventing jail overcrowding, avoiding the costs

attendant to incarceration, 35 and providing equal justice for all. Consequently, in light of the

potential harmful consequences of prolonged confinement and the strain that unnecessary

confinement puts on jail conditions, the United States urges that pretrial detention be used only

when necessary, as determined by an appropriate individualized determination.

                                             CONCLUSION

          Fundamental and long-standing principles of equal protection squarely prohibit bail

schemes based solely on the ability to pay. Fixed-sum bail schemes do not meet these mandates.

By using a predetermined schedule for bail amounts based solely on the charges a defendant

faces, these schemes do not properly account for other important factors, such as the defendant’s

potential dangerousness or risk of flight. For these reasons, if the bail system in Clanton is as

Plaintiff describes, the system should not stand.


34
     ABA Standards for Criminal Justice, Pretrial Release, Standard 10-1.4 (3d ed. 2007).
35
  As noted by the Supreme Court, pretrial detention not only adversely impacts defendants – it also
creates significant costs for taxpayers. See Tate, 401 U.S. at 399 (prolonged pretrial detention “saddles the
State with the cost of feeding and housing [the defendant] for the period of his imprisonment.”).


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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 13, 2015, a copy of the foregoing Statement of Interest

was filed electronically. Notice of this filing will be sent by email to all parties by operation of

the Court’s electronic filing system. Parties may access this filing through the Court’s CM/ECF

System.



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